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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

RODERICK ARNOLD, et al., on                              Civil File No. 01-2086 DWF/AJB
behalf of themselves and all others
similarly situated,

                     Plaintiffs,                         CERTIFICATE OF SERVICE
v.

CARGILL, INCORPORATED,

                     Defendant.


       I hereby certify that on August 24, 2007, I caused the following document(s):

       1.     Notice Of Intent To Claim An Award Of Attorneys’ Fees And Other Costs
              And Expenses

to be filed electronically with the Clerk of Court through ECF, and that ECF will send an
e-notice of the electronic filing to the following ECF participants not affiliated with the
filing party:

       Susan M Coler
       scoler@sprengerlang.com ecf@sprengerlang.com

        As well as any other parties of record scheduled to receive copies of ECF filings in
this action.

I further certify that I caused a copy of the foregoing documents and the notice of
electronic filing to be mailed by first class mail, postage paid, to the following non-ECF
participants not affiliated with the filing party:

              Not applicable.
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Dated: August 24, 2007              DORSEY & WHITNEY LLP



                                          s/Michael Iwan
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